                                       UNITED STATES BANKRUPTCY COURT
                                           NORTHERN DISTRICT OF CALIFORNIA
                                                     SAN FRANCISCO DIVISION


In Re. ERICK FERNANDO CRESPO                                        §                   Case No. 23-30874
                                                                    §
                                                                    §
                      Debtor(s)                                     §
                                                                                            Jointly Administered

Monthly Operating Report                                                                                                  Chapter 11

Reporting Period Ended: 02/29/2024                                                        Petition Date: 12/23/2023

Months Pending: 2                                                                         Industry Classification:    0   0   0     0

Reporting Method:                              Accrual Basis                         Cash Basis

Debtor's Full-Time Employees (current):                                          0

Debtor's Full-Time Employees (as of date of order for relief):                   0



Supporting Documentation (check all that are attached):
(For jointly administered debtors, any required schedules must be provided on a non-consolidated basis for each debtor)

        Statement of cash receipts and disbursements
        Balance sheet containing the summary and detail of the assets, liabilities and equity (net worth) or deficit
        Statement of operations (profit or loss statement)
        Accounts receivable aging
        Postpetition liabilities aging
        Statement of capital assets
        Schedule of payments to professionals
        Schedule of payments to insiders
        All bank statements and bank reconciliations for the reporting period
        Description of the assets sold or transferred and the terms of the sale or transfer




/s/ Erick Crespo                                                             Erick Crespo
Signature of Responsible Party                                               Printed Name of Responsible Party
03/18/2024
Date
                                                                             127 Bridgeview Dr., San Francisco, CA 94124
                                                                             Address



STATEMENT: This Periodic Report is associated with an open bankruptcy case; therefore, Paperwork Reduction Act exemption 5 C.F.R.
§ 1320.4(a)(2) applies.
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Part 1: Cash Receipts and Disbursements                                              Current Month            Cumulative

a.   Cash balance beginning of month                                                                 $3,604
b.   Total receipts (net of transfers between accounts)                                                 $0                 $15,064
c.   Total disbursements (net of transfers between accounts)                                          $882                 $23,572
d.   Cash balance end of month (a+b-c)                                                               $2,722
e.   Disbursements made by third party for the benefit of the estate                                    $0                     $0
f.   Total disbursements for quarterly fee calculation (c+e)                                          $882                 $23,572
Part 2: Asset and Liability Status                                                   Current Month
(Not generally applicable to Individual Debtors. See Instructions.)
a. Accounts receivable (total net of allowance)                                                         $0
b.   Accounts receivable over 90 days outstanding (net of allowance)                                    $0
c.   Inventory       ( Book        Market      Other      (attach explanation))                         $0
d    Total current assets                                                                               $0
e.   Total assets                                                                                       $0
f.   Postpetition payables (excluding taxes)                                                            $0
g.   Postpetition payables past due (excluding taxes)                                                   $0
h.   Postpetition taxes payable                                                                         $0
i.   Postpetition taxes past due                                                                        $0
j.   Total postpetition debt (f+h)                                                                      $0
k.   Prepetition secured debt                                                                           $0
l.   Prepetition priority debt                                                                          $0
m. Prepetition unsecured debt                                                                           $0
n.   Total liabilities (debt) (j+k+l+m)                                                                 $0
o.   Ending equity/net worth (e-n)                                                                      $0

Part 3: Assets Sold or Transferred                                                   Current Month            Cumulative


a.   Total cash sales price for assets sold/transferred outside the ordinary
     course of business                                                                                 $0                     $0
b.   Total payments to third parties incident to assets being sold/transferred
     outside the ordinary course of business                                                            $0                     $0
c.   Net cash proceeds from assets sold/transferred outside the ordinary
     course of business (a-b)                                                                           $0                     $0

Part 4: Income Statement (Statement of Operations)                                   Current Month            Cumulative
(Not generally applicable to Individual Debtors. See Instructions.)
a. Gross income/sales (net of returns and allowances)                                                   $0
b.   Cost of goods sold (inclusive of depreciation, if applicable)                                      $0
c.   Gross profit (a-b)                                                                                 $0
d.   Selling expenses                                                                                   $0
e.   General and administrative expenses                                                                $0
f.   Other expenses                                                                                     $0
g.   Depreciation and/or amortization (not included in 4b)                                              $0
h.   Interest                                                                                           $0
i.   Taxes (local, state, and federal)                                                                  $0
j.   Reorganization items                                                                               $0
k.   Profit (loss)                                                                                      $0                     $0
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Part 5: Professional Fees and Expenses

                                                                                  Approved       Approved       Paid Current       Paid
                                                                                Current Month   Cumulative         Month         Cumulative
a.     Debtor's professional fees & expenses (bankruptcy) Aggregate Total                  $0            $0                $0             $0
       Itemized Breakdown by Firm
                Firm Name                         Role
       i                                                                                   $0            $0                $0             $0
       ii
       iii
       iv
       v
       vi
       vii
       viii
       ix
       x
       xi
       xii
       xiii
       xiv
       xv
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                                                                                Approved       Approved       Paid Current       Paid
                                                                              Current Month   Cumulative         Month         Cumulative
b.    Debtor's professional fees & expenses (nonbankruptcy) Aggregate Total              $0            $0                $0             $0
      Itemized Breakdown by Firm
               Firm Name                        Role
      i                                                                                  $0            $0                $0             $0
      ii
      iii
      iv
      v
      vi
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c.       All professional fees and expenses (debtor & committees)                  $0              $0               $0               $0




Part 6: Postpetition Taxes                                                               Current Month             Cumulative

a.   Postpetition income taxes accrued (local, state, and federal)                                       $0                          $0
b.   Postpetition income taxes paid (local, state, and federal)                                          $0                          $0
c.   Postpetition employer payroll taxes accrued                                                         $0                          $0
d.   Postpetition employer payroll taxes paid                                                            $0                          $0
e.   Postpetition property taxes paid                                                                    $0                          $0
f.   Postpetition other taxes accrued (local, state, and federal)                                        $0                          $0
g.   Postpetition other taxes paid (local, state, and federal)                                           $0                          $0

Part 7: Questionnaire - During this reporting period:

a.   Were any payments made on prepetition debt? (if yes, see Instructions)        Yes        No
b.   Were any payments made outside the ordinary course of business                Yes        No
     without court approval? (if yes, see Instructions)
c.   Were any payments made to or on behalf of insiders?                           Yes        No
d.   Are you current on postpetition tax return filings?                           Yes        No
e.   Are you current on postpetition estimated tax payments?                       Yes        No
f.   Were all trust fund taxes remitted on a current basis?                        Yes        No
g.   Was there any postpetition borrowing, other than trade credit?                Yes        No
     (if yes, see Instructions)
h.   Were all payments made to or on behalf of professionals approved by           Yes        No    N/A
     the court?
i.   Do you have:            Worker's compensation insurance?                      Yes        No
                                 If yes, are your premiums current?                Yes        No    N/A       (if no, see Instructions)
                             Casualty/property insurance?                          Yes        No
                                 If yes, are your premiums current?                Yes        No    N/A       (if no, see Instructions)
                             General liability insurance?                          Yes        No
                                 If yes, are your premiums current?                Yes        No    N/A       (if no, see Instructions)
j.   Has a plan of reorganization been filed with the court?                       Yes        No
k.   Has a disclosure statement been filed with the court?                         Yes        No
l.   Are you current with quarterly U.S. Trustee fees as                           Yes        No
     set forth under 28 U.S.C. § 1930?




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Part 8: Individual Chapter 11 Debtors (Only)

a.      Gross income (receipts) from salary and wages                                                                   $0
b.      Gross income (receipts) from self-employment                                                                    $0
c.      Gross income from all other sources                                                                             $0
d.      Total income in the reporting period (a+b+c)                                                                    $0
e.      Payroll deductions                                                                                              $0
f.      Self-employment related expenses                                                                                $0
g.      Living expenses                                                                                               $882
h.      All other expenses                                                                                              $0
i.      Total expenses in the reporting period (e+f+g+h)                                                              $882
j.      Difference between total income and total expenses (d-i)                                                  $-882
k.      List the total amount of all postpetition debts that are past due                                               $0
l. Are you required to pay any Domestic Support Obligations as defined by 11              Yes       No
   U.S.C § 101(14A)?
m. If yes, have you made all Domestic Support Obligation payments?                        Yes       No        N/A

                                                     Privacy Act Statement
28 U.S.C. § 589b authorizes the collection of this information, and provision of this information is mandatory under 11 U.S.C.
§§ 704, 1106, and 1107. The United States Trustee will use this information to calculate statutory fee assessments under 28
U.S.C. § 1930(a)(6). The United States Trustee will also use this information to evaluate a chapter 11 debtor's progress
through the bankruptcy system, including the likelihood of a plan of reorganization being confirmed and whether the case is
being prosecuted in good faith. This information may be disclosed to a bankruptcy trustee or examiner when the information
is needed to perform the trustee's or examiner's duties or to the appropriate federal, state, local, regulatory, tribal, or foreign
law enforcement agency when the information indicates a violation or potential violation of law. Other disclosures may be
made for routine purposes. For a discussion of the types of routine disclosures that may be made, you may consult the
Executive Office for United States Trustee's systems of records notice, UST-001, "Bankruptcy Case Files and Associated
Records." See 71 Fed. Reg. 59,818 et seq. (Oct. 11, 2006). A copy of the notice may be obtained at the following link: http://
www.justice.gov/ust/eo/rules_regulations/index.htm. Failure to provide this information could result in the dismissal or
conversion of your bankruptcy case or other action by the United States Trustee. 11 U.S.C. § 1112(b)(4)(F).


I declare under penalty of perjury that the foregoing Monthly Operating Report and its supporting
documentation are true and correct and that I have been authorized to sign this report on behalf of the
estate.



/s/ Eric Crespo                                                                   Eric Crespo
Signature of Responsible Party                                                    Printed Name of Responsible Party

Debtor-in-Possession                                                              03/18/2024
Title                                                                             Date




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                                                    Bankruptcy1to50




                                                   Bankruptcy51to100




                                                  NonBankruptcy1to50




                                                 NonBankruptcy51to100




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Initiate Business Checking SM
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                                                                                                      Questions?
ERICK F CRESPO                                                                                        Available by phone Mon-Sat 7:00am-11:00pm Eastern
DBA ERICK F CRESPO                                                                                    Time, Sun 9:00am-10:00pm Eastern Time:
DEBTOR IN POSSESSION                                                                                  We accept all relay calls, including 711
CH11 CASE #23-30874 (NCA)                                                                              1-800-CALL-WELLS (1-800-225-5935)
127 BRIDGEVIEW DR                                                                                       En español: 1-877-337-7454
SAN FRANCISCO CA 94124-2230

                                                                                                      Online: wellsfargo.com/biz
                                                                                                      Write: Wells Fargo Bank, N.A. (114)
                                                                                                             P.O. Box 6995
                                                                                                             Portland, OR 97228-6995




Your Business and Wells Fargo                                                                        Account options
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infographics, and other resources on the topics of money movement, account                           convenient services with your account(s). Go to
                                                                                                     wellsfargo.com/biz or call the number above if you have
management and monitoring, security and fraud prevention, and more.
                                                                                                     questions or if you would like to add new services.

                                                                                                     Business Online Banking                            ÷
                                                                                                     Online Statements                                  ÷
                                                                                                     Business Bill Pay
                                                                                                     Business Spending Report                           ÷
                                                                                                     Overdraft Protection




Statement period activity summary                                                                     Account numbe          6877
        Beginning balance on 2/1                                              $4,486.56               ERICK F CRESPO
                                                                                                      DBA ERICK F CRESPO
        Deposits/Credits                                                           0.00               DEBTOR IN POSSESSION
        Withdrawals/Debits                                                     - 882.39               CH11 CASE #23-30874 (NCA)
        Ending balance on 2/29                                                $3,604.17               California account terms and conditions apply
                                                                                                      For Direct Deposit use
                                                                                                      Routing Number (RTN): 121042882
                                                                                                      For Wire Transfers use
                                                                                                      Routing Number (RTN): 121000248


Overdraft Protection
This account is not currently covered by Overdraft Protection. If you would like more information regarding Overdraft Protection and eligibility
requirements please call the number listed on your statement or visit your Wells Fargo branch.




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Transaction history


                         Check                                                                                   Deposits/        Withdrawals/            Ending daily
       Date             Number Description                                                                         Credits               Debits               balance
       2/6                     Mosaic Sure Pay 240206 16150363849*Cfx Erick F Crespo                                                    336.95               4,149.61
       2/22                    Purchase authorized on 02/20 Adidas US Online S                                                          119.49               4,030.12
                               800-9829337 OR S464051388597771 Card 3981
       2/23                    Recurring Payment authorized on 02/22 ATT* Bill Payment                                                      147.06           3,883.06
                               800-331-0500 TX S464053454131446 Card 3981
       2/26                    Purchase authorized on 02/25 Arco#00230Silver Oil Ser San                                                     16.63           3,866.43
                               Francisco CA P304056674900173 Card 3981
       2/27               1061 Check                                                                                                        250.00           3,616.43
       2/28                    Purchase authorized on 02/27 Arco#00230Silver Oil Ser San                                                     12.26           3,604.17
                               Francisco CA P464059117663139 Card 3981
       Ending balance on 2/29                                                                                                                                3,604.17

       Totals                                                                                                       $0.00                 $882.39

       The Ending Daily Balance does not reflect any pending withdrawals or holds on deposited funds that may have been outstanding on your account when
       your transactions posted. If you had insufficient available funds when a transaction posted, fees may have been assessed.




Summary of checks written(checks listed are also displayed in the preceding Transaction history)

      Number            Date                Amount
      1061              2/27                 250.00



Monthly service fee summary
For a complete list of fees and detailed account information, see the disclosures applicable to your account or talk to a banker. Go to
wellsfargo.com/feefaq for a link to these documents, and answers to common monthly service fee questions.


       Fee period 02/01/2024 - 02/29/2024                                               Standard monthly service fee $10.00                    You paid $0.00

       We waived the fee this fee period to allow you to meet one of the options to avoid the monthly service fee. This is the final period with the fee
       waived. For the next fee period, you need to meet one of the options to avoid the monthly service fee.

       How to avoid the monthly service fee                                                               Minimum required                    This fee period
       Have any ONE of the following each fee period
         • Average ledger balance                                                                                  $1,000.00                         $4,110.00   ÷
         • Minimum daily balance                                                                                    $500.00                          $3,604.17   ÷
       C1/C1




Account transaction fees summary
                                                                                          Units         Excess        Service charge per                 Total service
       Service charge description                                Units used          included            units           excess units ($)                  charge ($)
       Cash Deposited ($)                                                 0              5,000               0                   0.0030                           0.00
       Transactions                                                       2                100               0                      0.50                          0.00
       Total service charges                                                                                                                                     $0.00




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      IMPORTANT ACCOUNT INFORMATION

NEW YORK CITY CUSTOMERS ONLY -- Pursuant to New York City regulations, we request that you contact us at 1-800-TO WELLS
(1-800-869-3557) to share your language preference.




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Important Information You Should Know
• To dispute or report inaccuracies in information we have furnished to                           •   If your account has a negative balance: Please note that an account
  a Consumer Reporting Agency about your accounts: Wells Fargo Bank,                                   overdraft that is not resolved 60 days from the date the account first
  N.A. may furnish information about deposit accounts to Early Warning                                 became overdrawn will result in closure and charge off of your
  Services. You have the right to dispute the accuracy of information that                             account. In this event, it is important that you make arrangements to
  we have furnished to a consumer reporting agency by writing to us at                                 redirect recurring deposits and payments to another account. The
  Overdraft Collection and Recovery, P.O. Box 5058, Portland, OR                                       closure will be reported to Early Warning Services. We reserve the
  97208-5058. Include with the dispute the following information as                                    right to close and/or charge-off your account at an earlier date, as
  available: Full name (First, Middle, Last), Complete address, The account                            permitted by law. The laws of some states require us to inform you
  number or other information to identify the account being disputed,                                  that this communication is an attempt to collect a debt and that any
  Last four digits of your social security number, Date of Birth. Please                               information obtained will be used for that purpose.
  describe the specific information that is inaccurate or in dispute and the
  basis for the dispute along with supporting documentation. If you                               •   To download and print an Account Balance Calculation
  believe the information furnished is the result of identity theft, please                           Worksheet(PDF) to help you balance your checking or savings
  provide us with an identity theft report.                                                           account, enter www.wellsfargo.com/balancemyaccount in your
                                                                                                      browser on either your computer or mobile device.
• In case of errors or questions about other transactions (that are not
  electronic transfers): Promptly review your account statement within
  30 days after we made it available to you, and notify us of any errors.



Account Balance Calculation Worksheet                                                                 Number                  Items Outstanding                  Amount
1. Use the following worksheet to calculate your overall account balance.
2. Go through your register and mark each check, withdrawal, ATM
   transaction, payment, deposit or other credit listed on your statement.
   Be sure that your register shows any interest paid into your account and
   any service charges, automatic payments or ATM transactions withdrawn
   from your account during this statement period.
3. Use the chart to the right to list any deposits, transfers to your account,
   outstanding checks, ATM withdrawals, ATM payments or any other
   withdrawals (including any from previous months) which are listed in
   your register but not shown on your statement.


ENTER
A. The ending balance
   shown on your statement . . . . . . . . . . . . . . . . . . . . . . . $

ADD
B. Any deposits listed in your                                                $
   register or transfers into                                                 $
   your account which are not                                                 $
   shown on your statement.                                                 + $

    .. .. .. .. .. .. .. .. .. .. .. .. ... .. .. .. .. .. .. ..    TOTAL $

CALCULATE THE SUBTOTAL
  (Add Parts A and B)
  .. .. .. .. .. .. .. .. .. .. .. .. ... .. .. .. .. .. .. ..
  .                                                                 TOTAL $

SUBTRACT
C. The total outstanding checks and
   withdrawals from the chart above . . . . . . . . . . . . . - $

CALCULATE THE ENDING BALANCE
  (Part A + Part B - Part C)
  This amount should be the same
  as the current balance shown in
  your check register . . . . . . . . . . . . . . . . . . . . . . . . . . . . . $


                                                                                                                                             Total amount $
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